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                                                      U.S. Department of Justice

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                                                      District of Columbia

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                                                      Judiciary Center
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                                                      Washington, D.C. 20530
                                                      Direct Line: 202-252-6979


                                                      July 3, 2019

Sent via Federal Express

Carlos J. Vanegas
Assistant Federal Public Defender
625 Indiana Avenue, NW Suite 550
Washington, DC 20004
Counsel for Defendant

                Re:   United States v. John Victor Reed, Cr. No.: 19-cr-093 (EGS)

Dear Counsel:

       I write to provide you with additional discovery in the above-referenced case pursuant to
Rule 16 of the Federal Rules of Criminal Procedure.

       I.       Discovery

                A.    Documents and Tangible Evidence:

      Discovery in the above mentioned case has been provided on an encrypted disc. The
password to access the materials is         The discovery provided is outlined below.

               Department of Forensic Sciences Reports and Files
                   o Crime Scene Sciences (CSS) Reports
                          Report of Crime Scene Examination, Part 1 (5 pgs.)
                          Report of Crime Scene Examination, Part 2 (4 pgs.)
                          Latent Fingerprint Unit – Evidence Processing (6 pgs.)
                          Curriculum Vitae for Vaibhav Bist (3 pgs.)
                   o Firearms Examination Unit (FEU) Reports
                          Equipment (528 Files)
                          Property Record (1 pg.)

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                   o Laboratory Information Management System (LIMS) Reports
                         Case Info Report (1 pg.)
                         Chain of Custody (5 pgs.)
                         Case Activity Information Communication Log (1 pg.)
                         Electronic Case File (7 pgs.)
                         Physical Evidence Log (2 pgs.)

        Accordingly, please be advised that we anticipate providing additional discovery in this
case.
        II.    Government’s Discovery Requests

        The government hereby makes a reverse discovery request pursuant to Fed. R. Crim. P.
16(b), including, but not limited to the following:

        (1) notice of documents and tangible objects the defendant expects to introduce;
        (2) a Jencks request for all prior statements of any defense witness (excluding the
            defendant);
        (3) a Lewis request (for which we request the name, date of birth, sex, and social security
            number of each defense witness prior to trial); and
        (4) a request for information pertaining to any expert or scientific testimony or evidence.

       Pursuant to Fed. R. Crim. P. 16, we note our continuing request to receive any material
pursuant to Rule 16(b) as the case proceeds.

        III.   Other Information (Brady / Lewis / Giglio)

       The government is aware of its Brady or Giglio obligations. If such information does exist
with respect to any confidential informant(s), it will be disclosed at the appropriate time. Lewis
information for the government’s witnesses will be provided to you at the time of trial.

        Should you have any questions or concerns, please call me directly at the telephone number
indicated above.
                                                    Sincerely yours,

                                                     JESSIE K. LIU
                                                     UNITED STATES ATTORNEY

                                             By:     Mervin A. Bourne, Jr.
                                                     Mervin A. Bourne, Jr.
                                                     Assistant United States Attorney
Enclosures




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